
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and the Respondent's Answer.
Claimant, Regional Jail and Correctional Facility Authority, provides and maintains the Northern Regional Jail, the North Central Regional Jail, the Potomac Highlands Regional Jail, and the Tygart Valley Regional Jail, as facilities for the incarceration of prisoners who have committed crimes in various counties. Some of the prisoners held in these regional jails have been sentenced to facilities owned and maintained by the Respondent, Division of Corrections. Claimant brought this action in the amount of $5,945,942.90 to recover the per diem costs associated with housing and providing services to prisoners who have been sentenced to a State penal institution, but due to circumstances beyond the control of the Claimant, have remained in the regional jails.
Respondent filed an Answer admitting the validity of the claim and that the amount of the claim is fair and reasonable.
This Court has determined in prior claims by Claimant for the cost of housing inmates that Respondent is liable to Claimant for these costs, and the Court has made the appropriate awards. This issue was considered by the Court previously in the claim of County Comm'n. of Mineral County v. Div. of Corrections, 18 Ct. Cl. 88 (1990), wherein the Court held that the Respondent is liable for the cost of housing inmates.
In view of the foregoing, the Court makes an award to Claimant in the amount of $5,945,942.90.
Award of $5,945,942.90.
